Case 2:98-CV-02642-.]DB-STA Document 126 Filed 08/12/05 Page 1 of 3 Page|D 119

Fll.ELU B“t' _%_ D.C.

IN THE UNITEI) STATES DISTRICT COURT FORMS 12 AH |f]: 141
WESTERN DISTRICT OF TENNESSEE

 

 

wESTERN DISTRICT AT MEMPHIS M.;`,J_E} haw _Mm
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`t*t,@ Ci' . t
UNION REALTY COMPANY, LTD_,
Piaimirf,
"' NO_ 98-2642-13

NATIONWIDE MUTUAL INSURANCE COMPANY,

Defendant_

AGREED {)RDER OF SUBSTITUTION OF COUNSEL

 

It appearing to the Court, as evidenced by signature of counsel to this cause, that
the parties have agreed that Parks T. Chastain and the law firm of Brewer, Krause &
Brool<s has been substituted as counsel for the defendant, Nationwide Mutual lnsurance
Col"npany, pursuant to the Agreed Order Of`SubStitutiOn entered On April 23, 2004 The
parties further agree that Jerry O. Potter and The Hardison Law Firm should be removed
as attorney oi` record for Nationwide Mutua] Insurance Company_

ORDER, ADJUDGED, AND DECREED that Jerry O. Potter and The Hardison

L,aw Firm, P.C. he removed as attorney ofrecord.

~+ k - _
Entered this /1' day of [§W\ § , 2005.

J. NIEL BREEN \
/ nit d States Distriet Judge

 

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Case 2:98-CV-O2642-.]DB-STA Document 126 Filed 08/12/05 Page 2 of 3 Page|D 120

APPROVED FOR ENTRY:

 

Registration No. 007815
Attorney for Plaintiff

ja 7 JJWA,.,‘_

PARKS T. CHASTAIN
Registration No. 13744 7

Attorney for Defendant

 

 

JERRY . oWER
Regis ron No. 4282
Attorney for Defendant

 

UNITE`DSTATES DISTRICT OURT WESTERNDTISRIC oF TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 126 in
case 2:98-CV-02642 Was distributed by faX, mail, or direct printing on
August 12, 2005 to the parties listed.

 

 

Parks T_ Chastain

BREWER KRAUSE & BROOKS
611 Commerce Street

Ste_ 2600, The ToWer

Nashville, TN 37203

Richard Glassman

GLASSMAN EDWARDS WADE & WYATT, P_C_
26 N_ Second Street

1\/1emphis7 TN 38103

Karen R_ Cicala

LAW OFFICE OF KAREN CICALA
40 S_ Main St_

Ste_ 2300

1\/1emphis7 TN 38103

.1 erry O_ Potter

THE HARDISON LAW FIRM
119 S_ Main St_

Ste_ 300

1\/1emphis7 TN 38103

R_ Douglas Hanson

GLASSMAN EDWARDS WADE & WYATT, P_C_
26 N_ Second Street

1\/1emphis7 TN 38103

William M_ Jeter

LAW OFFICE OF WILLIAM .TETER
35 Union Ave_

Ste_ 300

1\/1emphis7 TN 38103

Honorable .1_ Breen
US DISTRICT COURT

